Case 2:96-cV-02520-.]PI\/| Document 843 Filed 06/30/05 Page 1 of 3 Page|D 1631

 

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v. NO. 96~2520 Nl

SHELBY COUNTY, TENNESSEE,
et al.,

Defendants.

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ORDER FOLLOWING STATUS CONFERENCE

 

The Court held a status conference on Thursday, June 30, 2005,
to discuss the resolution of all matters in this case. During the
conference, the parties agreed that the Court should enter a final
judgment dismissing the case. Further the parties agreed, and the
Court hereby ORDERS, that any supplemental petition for attorney’s
fees shall be submitted Within thirty (30) days from the date of
entry of this order. In addition, the Court DISCHARGES the Special
Master in this case, Charles Glover Fisher, V., and the Assistants to
the Special Master, Wanda J. Kilgore-Schneider and Curtis J.
Shumpert. The Special Master and Assistants to the Special Master
shall submit their final billing requests for expenses incurred in
connection with this matter up to the date cf this order Within

thirty {30) days from the date of entry of this order.

so 0RDERED thiSJOth day of June, 2005.

v 1110.111

P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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rim ama 53 and/or 79(3) FRCP on / O,§

   

UNIED STATESDISTRIC COURT - WESERTN DITRICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 843 in
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Honorable .1 on McCalla
US DISTRICT COURT

Filed 06/30/05 Page 3 013 Page|D 1633

